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                                                                         USDC SDNY
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UNITED STATES DISTRICT COURT                                             ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                            DOC #: _________________
 -------------------------------------------------------------------X    DATE FILED: October 12, 2017
                                                                     :
 RAUL BATISTA,                                                       :
                                                                     :
                                     Plaintiff,                      :
                                                                     :
                            -v-                                      :         17-cv-4245 (KBF)
                                                                     :
 THE CITY OF NEW YORK, P.O. ALFRED                                   :             ORDER
 SANTERISO, DET. JAMES FLYNN, SGT.                                   :
 FRANCISCO PEREZ, Undercover Officer 1                               :
 (“UC0311”), Undercover Officer 2 (“UC0022”) :
 and Undercover Officer 3 (“UC0014”), JOHN                           :
 AND JANE DOES 1-2,                                                  :
                                                                     :
                                     Defendants.                     :
                                                                     :
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KATHERINE B. FORREST, District Judge:

        The Court is in receipt of the parties’ letter notifying the Court that they

have agreed to remove the case from the § 1983 Plan. As such, it is hereby

ORDERED that:

               1. This case is hereby REMOVED from the § 1983 Plan.

               2. Lead counsel for all parties shall appear for an in-person initial

                   pretrial conference (“IPTC”) on Thursday, October 26, 2017 at 2:30

                   p.m.

               3. Full discovery should commence immediately.

               4. At least four business days prior to the IPTC, the parties shall

                   jointly submit a proposed schedule in accordance with the form

                   available at http://www.nysd.uscourts.gov/judge/Forrest.
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           5. Requests for adjournments shall be submitted at least two business

              days prior to the IPTC.

           6. Counsel shall consult the Court’s Individual Practices in Civil Cases

              (available at http://www.nysd.uscourts.gov/judge/Forrest) and comply

              with all other requirements for the IPTC.

     SO ORDERED.

Dated:       New York, New York
             October 12, 2017

                                          ______________________________________
                                                KATHERINE B. FORREST
                                                United States District Judge




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